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                                          FIRE, _IMS.                              [CHIAP. LII.
                                          FIRE ARMS.                               [CHAP. LII.




                                    CHAPTER 52.
                      AN AcT to Prevent the Carrying of Fire Arm. and Other Deadly Weapons.

                 Be it enacted by the Council and House of Representatives of the
                   Trritory of Tiorning:
 Carrying wea-       SECTION. 1.     That hereafter it shall be unlawful for any resi-
 pens   within
 1i, town or      dent   oty, town y       or village, or for any on not a resident of
 villae limits, any city, town or village, in said Territory, but t sojourner
 prohibited,      thcrein, to bear upon his person, concealed or openly, any lire
                  arm or other deadly weapon, within the limits of any clity, town or
                  village.
 to be resident
 Non-                 SEC. 2. That if any person not a resident of any town, cityor
       first no-ytonciyr
 lefledr          village of Wyoming    1rcrritory, shall, after being notilied of the
                  existence of this act by a proper peace officer, continue to carry or
                 bear upon his person any fire arm or other deadly weapon, lie or
                 she, shall be deemed to be guilty of t violation of the provisions
                 of this act and shall be punished accordingly.
 violation     of SEc. 3. Any person violating any of the provisions of this act
 (lsaetalor.     shall be deemed guilty of it misdelmanor, and upon conviction
                 thereof, shall be pinisied by a fine of not less than five dollars nor
 P'enalty.       more than fifty dollars, and, in the defiult of the payment of iny
                 fine which may be assessed against him, shall be imprisoned in the
                 county jail fir not less than five days nor more than twenty days.
 Iniforce.          SEC. 4. This act shall take effect and be in force from and after
                 its passage.
                    Approved, December 2nd, 1875.
